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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                CASE NO.: 17-cv-20942-MARTINEZ

  JANE ELIZABETH SNIDER-HANCOX,
        Plaintiff,

  v.

  NCL (BAHAMAS) LTD., d/b/a
  NORWEGIAN CRUISE LINES
        Defendant.
  _____________________________________/

                                          FINAL JUDGMENT

          THIS CAUSE was tried before a jury from October 13, 2021, to October 18, 2021. On

  October 18, 2021, the jury returned a verdict in favor of Defendant NCL (Bahamas) LTD. and

  against Plaintiff Jane Elizabeth Snider-Hancox. On the basis of the Jury Verdict, (ECF No. 286),

  it is hereby:

          ORDERED AND ADJUDGED that:

          1.      This Case is CLOSED, and all pending motions are DENIED as MOOT. Plaintiff

          Jane Elizabeth Snider-Hancox shall take nothing by this action, and Defendant NCL

          (Bahamas) LTD. Shall go hence without day.

          2.      The Court reserves jurisdiction to tax costs against Plaintiff, pursuant to the

          procedures set forth in Southern District of Florida Local Rule 7.3 and a bill of costs filed

          pursuant to 28 U.S.C. § 1920.

          DONE AND ORDERED in Chambers at Miami, Florida, this 28th day of October, 2021.



                                                        JOSE E. MARTINEZ
  Copies provided to:                                   UNITED STATES DISTRICT JUDGE
  All Counsel of Record
